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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF WISCONSIN

J.K.J.,                                        )
                                               )
                   Plaintiff,                  )
                                               )
                   v.                          )     Case No. 15-cv-0428-wmc
                                               )
POLK COUNTY and DARRYL L.                      )
CHRISTENSEN,                                   )
                                               )
                   Defendants.                 )     Hon. William M. Conley

and

M.J.J.,                                        )
                                               )
                   Plaintiff,                  )
                                               )
                   v.                          )     Case No. 15-cv-0433-wmc
                                               )
POLK COUNTY and DARRYL L.                      )
CHRISTENSEN,                                   )
                                               )
                   Defendants.                 )     Hon. William M. Conley

   JOINT MOTION TO TERMINATE PLAINTIFFS’ SUPPLEMENTAL
 PETITION FOR ATTORNEYS’ FEES AND COSTS AND POLK COUNTY’S
          MOTION TO STAY EXECUTION OF JUDGMENT

      Plaintiffs, J.K.J. and M.J.J., and Defendant Polk County, by their respective

attorneys, hereby move the Court as follows:

      1.     On June 16, 2020, Plaintiffs filed a supplemental petition for attorneys’

fees and costs. Dkt. 335. 1 Polk County filed a response seeking a reduction in the




      1For ease of reading, all record cites are to J.K.J. v. Polk County and
Christensen, Case No. 15-cv-428-wmc (W.D. Wis.)
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attorney hours sought to be compensated by Plaintiffs, though not disputing the

hourly rates sought, and the motion is fully briefed. Dkt. 339; see also Dkt. 348.

      2.     On September 29, 2020, Polk County filed a petition for a writ of

certiorari with the United States Supreme Court. Plaintiffs filed a brief in

opposition to the petition on December 9, 2020. The Supreme Court denied Polk

County’s petition on January 11, 2021.

      3.     The parties have since reached an agreement regarding Plaintiffs’

claims for attorneys’ fees and costs, including those fees sought in Plaintiffs’

pending supplemental petition, as well as fees and costs incurred after the

supplemental petition was filed.

      4.     Accordingly, the parties jointly move to terminate Plaintiffs’ pending

supplemental fee petition. Dkt. 335.

      5.     Similarly, the parties jointly move to terminate Polk County’s pending

motion to stay execution of judgment. Dkt. 336.




Respectfully submitted,

/s/ Steve Art                                         /s/ Paul Cranley
Steve Art                                             Paul Cranley
Attorney for Plaintiffs                               Attorney for Polk County


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                          CERTIFICATE OF SERVICE

       I, Steve Art, an attorney, hereby certify that on March 25, 2021, I caused the
foregoing to be filed using the Court’s CM/ECF system, which effected service on all
counsel of record.


                                              /s/ Steve Art
                                              Steve Art
                                              Attorney for Plaintiff




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